Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 1 of 6 PageID #: 122




                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF RHODE ISLAND

     CAROLYN D. ROSS,

                           PLAINTIFF,

             v.

     COX RHODE ISLAND TELECOM, LLC
                                                               CIVIL ACTION NO. 21-CV-00118-JJM-LDA
     D/B/A COX COMMUNICATIONS, ALIAS,
     AND COXCOM, LLC, D/B/A COX
     COMMUNICATIONS NEW ENGLAND,
     ALIAS,

                           DEFENDANTS.


           DEFENDANTS’ MOTION TO COMPEL PLAINTIFF’S MEDICAL RECORDS

             Pursuant to Federal Rules of Civil Procedure 37(a) and LR Cv 7 and 37, Defendants Cox

     Rhode Island Telecom, LLC d/b/a Cox Communications, alias, (“Cox Rhode Island”) and

     CoxCom, LLC d/b/a Cox Communications New England, alias (“CoxCom”) (collectively,

     “Defendants”)1 move this Court to compel Plaintiff Carolyn D. Ross (“Plaintiff”) to execute

     medical authorizations to allow Defendants to obtain her medical records within twenty-one (21)

     days of a decision on this Motion, or such other time as the Court deems appropriate.2

I.           INTRODUCTION

             Defendants seek information and documents related to Plaintiff’s medical history, such as

     a list of her health care practitioners, medications, medical records, including chiropractic and

     psychological records, and medical and psychological bills from January 1, 2016 to the present.



     1
       Plaintiff was employed by CoxCom, LLC and not by Cox Rhode Island Telecom, LLC. Cox Rhode Island Telecom,
     LLC is not a proper defendant in this case.
     2
       Defendants are seeking to compel Plaintiff’s Answers to Interrogatories Nos. 3 and 4, and Plaintiff’s Response to
     Defendants’ Request for Production Requests Nos. 22, 23, 38, and 39. See Plaintiff’s Response to Defendants’
     Interrogatories and Plaintiff’s Response to Defendant’s Request for Production of Documents.
Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 2 of 6 PageID #: 123




To obtain this information, Defendants seek executed copies of medical and psychiatric

authorizations forms from Plaintiff. 3 Plaintiff, who alleges she was terminated because of her age,

seeks damages, including “pain and suffering, emotional distress, loss of enjoyment of life,

humiliation, damage to Plaintiff’s professional and personal reputation.” (Plaintiff’s Amended

Complaint (“Compl.”), ¶ 75 (Doc. 6)).

        On September 27, 2021, Defendants served their First Set of Requests for Production of

Documents (“RFPD”) and First Set of Interrogatories (the “Interrogatories”) on Plaintiff, in which

Defendants’ requested certain medical records. On November 29, 2021, Plaintiff served her

Responses to the RFPD and the Interrogatories. (Attached as Exhibits A & B are relevant portions

of Plaintiff’s responses to Defendants’ discovery requests). Plaintiff has outright refused to

provide Defendants with any medical records or information related to her health care providers.

Once a party puts their emotional condition at issue, medical records become relevant and

discoverable. To the extent Plaintiff is concerned about confidentiality, Defendants are willing to

agree to a protective order. The parties met and conferred regarding this discovery dispute, but

Plaintiff refused to provide any information regarding her health care providers or produce her

medical records. As such, Defendants had no choice but to file the instant motion to compel.




3
  This Court has the power to compel a party to authorize the release of their medical records to an opposing party
where the records contain discoverable material. See, e.g., Dodge v. Signature Flight Support Corp., 509 F. Supp. 3d
1, 2-3 (D. Mass. 2020) (“The Court has the power to compel parties to authorize the release of medical records to an
opposing party where the records contain discoverable material.”).


                                                         2
Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 3 of 6 PageID #: 124




    II.   ARGUMENT

          A.     Plaintiff has placed her medical history at issue by seeking damages for
                 emotional distress.

                 1.       Plaintiff’s medical records are relevant, non-privileged information that is
                          discoverable.

          Pursuant to Fed. R. Civ. P. 26(b), a party “may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense[.]” Plaintiff’s objections to

the production of her medical records as irrelevant are without merit because the records became

relevant once she placed her emotional condition at issue. See Davis v. Amica Mut. Ins. Co., No.

14-228-M, 2015 U.S. Dist. LEXIS 15622, at *10 (D.R.I. Feb. 3, 2015) (requiring the production

of mental health records because “they may reveal that the claimant’s mental and emotional

distress was caused by prior, unrelated events.”). Contrary to what Plaintiff has asserted in her

discovery responses,4 Rhode Island law does not recognize the “physician/counselor-patient” or

“psychotherapist-patient” privileges. See, e.g., Lewis v. Roderick, 617 A.2d 119, 121 (R.I. 1992)

(the “Legislature intended that the [patient-physician] privilege automatically be waived when a

[party] . . . elects to . . . puts his or her medical condition at issue”).

          Defendants are entitled to the requested medical records in order to evaluate Plaintiff’s

alleged emotional distress injury and related damages. See EEOC v. Kohl’s Dep’t Stores, Inc., No.

2:11–cv–320–JAW, 2012 WL 639693, at *2 (D. Me. Feb. 27, 2012) (employer properly sought

medical records to explore claimed emotional distress damages); EEOC v. Sheffield Fin. LLC, No.



4
  In response to several discovery requests, Plaintiff objected based on the “physician-patient privilege, therapist-
patient privilege, and any other applicable privilege.” See, e.g. Plaintiff’s Response to Defendant’s Request for
Production of Documents Nos., 22, 23, 38, and 39. Similarly, Plaintiff asserted the following objections in response
to various interrogatories, “Plaintiff objects to the extent any of the documents sought are protected by the
physician/counselor-patient privilege and/or any other applicable privileges.” See, e.g. Plaintiff’s Response to
Defendants’ Interrogatories Nos. 3 and 4. The privileges Plaintiff relies upon are not recognized in Rhode Island.




                                                          3
Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 4 of 6 PageID #: 125




1:06CV00889, 2007 WL 1726560, at *7 (M.D.N.C. June 13, 2007) (“[C]ourts overwhelmingly

hold that employers are entitled to Rule 26 discovery of medical records even in so-called

‘garden-variety’ employment cases where plaintiffs allege damages due to emotional distress”);

Stark v. Hartt Transp. Sys., Inc., No. 2:12-CV-195-NT, 2013 WL 358266, at *5 (D. Me. Jan. 28,

2013) (defendant was entitled to plaintiff’s medical records to defend against plaintiff’s claim for

emotional distress damages). There is no valid reason for Plaintiff’s refusal to provide the

information and documents requested by Defendants.

               2.      Plaintiff’s alleged privacy interests are outweighed by Defendants’ need for
                       her medical records and such concerns can be resolved through the use of a
                       protective order.

       Plaintiff has alleged that she suffered emotional distress as a result of her employment with

CoxCom. See Plaintiff’s Answer to Interrogatory No. 2. The requested information is directly

related to this matter because it is necessary for Defendants to evaluate Plaintiff’s damages. Any

privacy concerns are outweighed by Defendants’ need for the information. See, e.g., Ashman v.

Solectron Corp., No. C-08-01430-HRL, 2009 WL 1684725, at *3 (N.D. Cal. June 12, 2009)

(“courts ordinarily balance a claimed privacy right against the need for the information; and,

disclosure of personnel files have been ordered where the stated need for the documents outweighs

privacy interests”); Bratt v. IBM Corp., 392 Mass. 508, 520-521 (1984) (“[i]n evaluating whether

the information sought from employees could amount to an unreasonable interference with their

right of privacy, . . . the employer’s legitimate interest in determining the employees’ effectiveness

in their jobs should be balanced against the seriousness of the intrusion on the employees’

privacy”). In light of the fact that Plaintiff was employed by CoxCom since 1985, the limited

timeframe – January 1, 2016 to the present – is reasonable in order to evaluate Plaintiff’s alleged

emotional distress damages. See, e.g., Riley v. Gen. Emp. Enters., No. CIV.A. 04-12318-RWZ,




                                                  4
Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 5 of 6 PageID #: 126




2006 WL 1344085, at *1 (D. Mass. May 16, 2006) (compelling the plaintiff’s medical and

psychiatric records to determine whether the plaintiff’s emotional distress resulted from pre-

existing conditions and not from the defendant’s alleged misconduct).

        Here, the balancing of interests weighs decidedly in favor of the disclosure of Plaintiff’s

medical records. “By directly linking the defendant’s liability and her allegedly severe emotional

distress to the issue of her mental health, the plaintiff has made her present and past condition a

critical issue in this case and the defendant simply cannot be expected to defend itself against such

claims without access to information regarding her treatment history.” Cherkaoui v. Quincy, No.

14-CV-10571-LTS, 2015 WL 4504937, at *3 (D. Mass. July 23, 2015) (granting former

employer’s request to have plaintiff execute releases for medical records). Any possible privacy

interests must give way to Defendants’ right to a fair trial and to the public policy favoring liberal

discovery.   To the extent necessary, Defendants are willing to agree to a protective order

specifically designed to alleviate Plaintiff’s privacy concerns.

 III.   CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

to Compel and require that Plaintiff execute authorizations within twenty-one (21) days of a

decision on this Motion or such other time as the Court may deem proper.




                                                  5
Case 1:21-cv-00118-JJM-LDA Document 16 Filed 03/11/22 Page 6 of 6 PageID #: 127




                                             COX RHODE ISLAND TELECOM, LLC D/B/A
                                             COX COMMUNICATIONS, ALIAS, AND
                                             COXCOM, LLC, D/B/A COX
                                             COMMUNICATIONS NEW ENGLAND, ALIAS

                                             By their attorneys,


                                             /s/ Eric B. Mack
                                             Eric B. Mack (#7784)
                                             LITTLER MENDELSON, P.C.
                                             One Financial Plaza, Suite 2205
                                             Providence, RI 02903
                                             (401) 824-2500
                                             (401) 454-2969 (facsimile)
                                             emack@littler.com

Dated: March 11, 2022


                                 CERTIFICATE OF SERVICE

        I, Eric B. Mack, certify that a true and accurate copy of the foregoing document was filed
and served electronically by operation of the Court’s CM/ECF System upon the following counsel
of record on this 11th day of March, 2022:

         Richard A. Sinapi, Esq.
         Chloe A. Davis, Esq.
         Sinapi Law Associates, LTD
         2374 Post Road, Suite 201
         Warwick, RI 02886

                                             /s/ Eric B. Mack
                                             Eric B. Mack


4893-7411-4575.3 / 111727-1003




                                                6
